                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                                 Asheville Division

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       Criminal No. 1:07cr122
                                              )
BOBBY LEE MEDFORD                             )
GUY KENNETH PENLAND                           )

                                             ORDER

       The matter is before the Court on defendants’ motion to sever their joint trial on various

grounds, including defendant Medford’s suggestion that the government will seek to introduce an

admission by defendant Penland that would inculpate defendant Medford in violation of Bruten v.

United States, 391 U.S. 123 (1968).       It is unclear from both defendants’ motions and the

government’s response what, if any, statements by Penland to law enforcement agents the

government seeks to introduce at trial that would implicate Bruten.

       Defendants also seek severance on the ground that defendant Penland’s exculpatory

testimony is necessary to defendant Medford’s defense but would be unavailable in a joint trial. See

United States v. Reaves, 48 F.3d 763, 767-68 (4th Cir. 1995). It is unclear from the pleadings

whether defendant Penland has indicated an intent to testify should the trial be severed.

       Accordingly, and for good cause,

       It is hereby ORDERED that the government is directed to file by 12:00 p.m. Friday, March

21, 2008, a list of any statements or confessions by defendant Penland that the government intends

to introduce at trial that implicate or inculpate defendant Medford and hence might require redaction

or otherwise implicate Bruten.

       It is further ORDERED that defendants are directed to file by 12:00 p.m. Friday, March 21,


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2008, assurance that defendant Penland will testify should the defendants’ motion be granted and

the trial severed.

        The Clerk is directed to send a copy of this Order to all counsel of record.




                                                                  /s/
                                                      _______________________
Alexandria, VA                                        T. S. Ellis, III
March 20, 2008                                        United States District Judge




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